                          Case 4:18-cr-00014-BMM Document 145 Filed 01/18/19 Page 1 of 8
•
I
.AO 2458 (Rev. 02(18)    Judgmenl in a Criminal Case
                          Sheet I
                                                                                                                         JAil 1 @201S
                                            UNITED STATES DISTRICT COURT                                              Clall<, U.S District Court
                                                                                                                         Distnct Of Montana
                                                                                                                             Greet Falls
                                                                   District of Montana
                                                                              )
                  UNITED STATES OF AMERlCA                                    )      JUDGMENT IN A CRIMINAL CASE
                                     v.                                       )
                                                                              )
                    STANLEY PATRICK WEBER                                            Case Number: CR 18-14-GF-BMM-01
                                                                              )
                                                                              )      USM Number: 16968-273
                                                                              )
                                                                              )       Stephen M. Bu rstein
                                                                              )      Oefcndant's Attorney
    THE DEFENDANT:
    o pleaded guilty to count(s)
    o pleaded nolo contendere to count(s)
       which was accepted by the court.
    I>?l was l"und guilty on count(s)      __c....:_3---'-a'--nd'--'--S_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
       after a plea of not gUilty.

    The defendant is adjudicated guilty ofthese offenses:

    Title & Section                  Nature of Offen••                                                         Offense Ended
     18 U.S.C. § 1152, 2241 (c)         Aggravated Sexual Abuse of a Child                                       1/2411995
     18 U.S.C. § 1152,2241(0)           Attempted Aggravated Sexual Abuse of a Child                             112411995                   2
     18 U.S.C. § 1152, 2243(a)          Attempted Aggravated Sexual Abuse of a Child                             112411995                   3

           The defendant is sentenced as provided in pages 2 through         __8,-__ ofthis judgment. The sentence IS imposed pursuant to
    the Sentencing Reform Act of 1984.
    iii The defendant has been found not guilty On count(s)         ....::4_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

    o Count(s)                                              Dis       o are dismissed on the motion ofthe United States.
             It is ordered that the defendant must notify the United States attorney for this distric't within 30 days ofany cbange ofname, residence,
    or mailing address until all fines, restitution, costs, and special assessments imposed by this judsment are fully paid. Ifordered to pay restitution,
    the defendant must notify the court and United States attOrney of material dianges in economlC circumstances.




                                                                              111712019
                                                                             Date
                          Case 4:18-cr-00014-BMM Document 145 Filed 01/18/19 Page 2 of 8
~ AO 24513 (Rev. 02118)   Judgment In a Criminal Case
                          Sheet JA
                                                                             Judgment-Page ~ of   .~,,-8__
  DEFENDANT: STANLEY PATRICK WEBER
  CASE NUMBER: CR 18-14-GF-BMM-01

                                              ADDITIONAL COUNTS OF CONVICTION
 Title & Section                    Nature of Offense                    Offense Ended
if1i1~i:f'l\5~~~1~~~~H"ii1(t~rarlii~1I1p""<"                        ...~~&~32(i~.; ;
                           Case 4:18-cr-00014-BMM Document 145 Filed 01/18/19 Page 3 of 8

~   AO 245B (Rev, 02/ I 8) Judgment in Criminal Case
                           Sheet 2 - Imprisonment
                                                                                                          Judgment -- Page     3   of   8
     DEFENDANT: STANLEY PATRICK WEBER
     CASE NUMBER; CR 18·14·GF·BMM·01

                                                                 IMPRISONMENT
                The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be impnsoned for a total
     tenn of:

      220 months. This term consists of 220 months on Counts 1, 2 and 3, and 36 months on Count 5, to run concurrently.




         III    The court makes the following recommendations to the Bureau of Prisons:

      It is recommended that the Defendant participate in residential sex offender treatment at a facility designated by the Bureau of
      Prisons, if eligible. It is further recommended that the Defendant be housed in or near South Dakota. It is further
      recommended that the Defendant be housed away from victims, witnesses, or others involved In the offense conduct.

         IiIl The defendant is remanded to the custody efthe United States Marshal.

         o      The defendant shall surrender to the United States Marshal for this district:

                o   at          _____ . - ­ 0 a.m.                  o    p.m.     on

                o   as notified by the United States Marshal.

         D      The defendant shan surrender for service of sentence at the jnstitution designated by the Bureau of Prisons:

                o   befure 2 p.m. on

                o   as notified by the United States Marshal.
                o   as notified by the Probation or Pretrial Services Office.


                                                                        RETURN
     I have executed this judgment as follows:




                Defendant delivered ou                                                          to

     at _ _ _ _ _ _~_ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                       UNITED STATES MARSHAL'


                                                                                By
                                                                                     -----"'D"'E"'P=UTy UNITED STATES MARSHAL
                         Case 4:18-cr-00014-BMM Document 145 Filed 01/18/19 Page 4 of 8

.. AO 24.5a (Rev, Q2J!8) Judgmenl in 11 Crimina] Case
                         Sheet:;   SuperviscdRelease
                                                                                                            Judgment-Page ~ of              B
  DEFENDANT: STANLEY PATRICK WEBER
  CASE KUMBER: CR 18-14-GF-BMM-01
                                                           SUPERVISED RELEASE
  Upon release from imprisonment, you will be on supervised release for a term of:
      five (5) years. This term consists of 5 years on Counts 1,2 and 3, and 1 year on Count 5, all terms to run concurrently.




                                                        MANDATORY CONDITIONS

 1,      You must not eomrnit another federal, state or local crime.
 2.      You must not unlawfully possess a controlled substance.
 3.      You must refrain from any unlawful use of a controlled substance, You must submit to one drug test within (5 days of reJease from
         jmprisonment and at teast two periodic drug tests thereafter, as determined by the court.
                o The above drug testing condition is suspended, based on the court's determination that you
                    pose a low risk of future substance abuse. fcheck ~r applicable)
 4.       0     You must make restitution in accordance with I g V.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
                restitution. (check ~r applrcable)
 5.       ~ You must cooperate in the collection of DNA 35 directed by the probation omcer. (check if applicahle)
 6.       I!f   You must comply with the requirements or the Sex Offender Registration and Notification Act (34 V.S.c. § 2090], et seq.) as
                directed by the probation officerl the Bureau of Prisons, or any state sex offender registration agency in the loeation where you
                reside~ work, are a student, Or were convicted of a qualifying offense. (check ifapplicable)
 7,       0     You must participate in an approved program for domestic violence. (che<:k ~f applicable)




 You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
 page.
                    Case 4:18-cr-00014-BMM Document 145 Filed 01/18/19 Page 5 of 8

AO 24513 (Rev. 02118) Judgment in a Criminal Case
                      Sheet 3A - Supervised Release
                                                                                               Judgment--Page    __~5~__      M . __~8~___
DEFENDANT: STANLEY PATRICK WEBER
CASE Nt:MBER: CR 18-14-GF-BMM-01

                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release. you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed. report to the court about, and bring about improvement.;; in your conduct and condition.

L     You must report to the probation office in the federaijudicial district where you are authorized to reside within 72 hours of your
      release from imprisonment. unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office you will receive instructions from the court or the probation omcer about how and
                                                      j


      when you must report to the probation officer, and you must report to the probation ofticer as instructed.
3.    You must not knov.ringly leave the federal judicial distriet where you are authorized to reside without first getting permission from the
      court or the probation offieeL
4.    You must answer truthfully the questions asked by your probation officer.
S.    You must live at a place approved by the probation officer. Jfyou plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation ollieer at least 10 days before the change. If notitying
      the probation omcer in advance is not posslhle due to unanticIpated circumstances, you must notifY the probatjon officer withIn 72
      hours of becoming aware of a change or expected change.
6.    You must anow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type ofemployment, unless the probation officer excuses you from
      doing so. Jfyou do not have full-time employment you must try to find full-time employment, unless the probation officer exeuses
      you from doing so. If you plan to change where you work or anj1hing about your work (such as your position or your job
      responsibilities), you must notity the probation ollicer at least 10 days before the change. If notitying the probation officer at least 10
      days in advance is not possible due to unanticipated eircumstances, you must notifY the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convieted ofa felony, you must not knowinglY communicate or lnteract v.'th that person without first getting the permission of the
      probation officer.
9.    Tfyou arc arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 bours.
10,   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e .• anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers),
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or infonnant without
      lirst gelting the pennission of the court.
12.   If the probation officer detennines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   Yau must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A V.S, probation oftlcer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions, For further information regarding these conditions, see Overview ofProbation and Supervised
Release Crmditions, available at: www,useourts.gov.


Defendant's Signature                                                                                     Date   .. ------~---
                   Case 4:18-cr-00014-BMM Document 145 Filed 01/18/19 Page 6 of 8
AO 245B(Re-v. 02118) Judgment in a Criminal Case
                     Sheet 3D ~ Supervised Release
                                                                                              Judgment   Page ~ of              8
DEFENDANT: STANLEY PATRICK WEBER
CASE NUMBER: CR 18-14-GF-BMM-01

                                       SPECIAL CONDITIONS OF SUPERVISIOl"
1. The defendant shall submit his person, and any property, residence, place of employment, vehicle, papers, computers (as
defined in 18 U,S.C. § 1030(e)(1», olherelectronic communications or data storage devices or media, 10 which the defendant
has access, to a search at a reasonable time and a reasonable manner, with or without a warrant, by the United States
Probation Office, or by any law enforcement officers upon the express direction of the United States Probation Office, with
reasonable suspicion conceming a violation of a condition of supervision or unlawful conduct by the defendant. Failure to submit
to search may be grounds for revocation. The defendant shall warn any other occupants, adults, and minors that the premises
may be subject to searches pursuant to this condition. The defendant shall allow seizure of suspected contraband for further
examination.

2. The defendant shall enter and successfully complete a sex offender treatment program. The defendant is to enter a program
designated by, and until released by, the United States Probation Office. The defendant is to pay all or part of the costs of
treatment as directed by United States Probation Office.

3. The defendant shall have no contact with victims in the instant offenses.

4. The defendant shall not be allowed to do the following without prior written approval of United States Probation: knowingly
reside in the home, residence, or be in the company of any child under the age of 18, with the exception of their own children;
go to or loiter within 100 yards of school yards, parks, playgrounds, arcades, or other places primarily used by children under
the age of 18.

5. You must not go to, or remain ai, any place where you know children under the age of 18 are likely to be, including parks,
schools, playgrounds. and childcare facilities.

6. The defendant shall submit to not more than six polygraph examinations per year as directed by United States Probation to
assist in treatment, planning, and case monitoring. The defendant maintains the Fifth Amendment rights during polygraph
examinations and may refuse to answer any incriminating questions. The defendant is to pay all or part of the cost of the
examinations as directed by United States Probation Office.

7. The defendant shall not knowingly acquire, possess, or view any materials depicting sexually explicit conduct as defined in 18
U.S.C. § 2256(2)(A). if the materials. taken as a whole, are pnmarily designed to arouse sexual desire, unless otherwise
approved by the supervising probation officer in conjunction with defendant's sex offender treatment provider. This condition
applies to written stories, visual, auditory, telephoniC, or electronic media, computer programs or services, and any visual
depiction as defined in 18 U.S.C. § 2256(5). The defendant shall not knowingly patronize any place where sexually explicit
material or entertainment is the primary Item of sale, such as adult bookstores, clubs, or Internet sites, unless otherwise
approved by the supervising probation officer in conjunction with defendant's sex offender treatment provider. The defendant
shall not utilize 900 or adult telephone numbers or any other sex-related numbers, or on-line chat rooms that are devoted to the
discussion or exchange of sexually explicit materials as defined above.

B. The defendant shall abstain from the consumption of alcohol and shall not enter establishments where alcohol is the primary
item of sale.

9. The defendant shall partiCipate in substance abuse testing, to include not more than 104 urinalysis tests, not more than 104
breathalyzer tests, and not more than 36 sweat patch applications annually during the period of supelVision. The defendant shall
pay all or part of the costs of testing as directed by the United States Probation Office.

10. The defendant will provide the United States Probation Officer with any requested financial information and shall incur no
new lines of credit without prior approval of the United States Probation Officer. You must notify the Probation Officer of any
material changes in your economic circumstances that might affect your ability to pay restitution, fines or speCial assessments.

11. The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
anticipated or unexpected financial gains to the outstanding court-ordered financial obligation.

12. You must not work in any type of employment without the prior approval of the probation officer.
                       Case 4:18-cr-00014-BMM Document 145 Filed 01/18/19 Page 7 of 8
AO 245B (Rev. 02/18)   Judgment in a Criminal Case
                       Sheet.5   Criminal M(meUlry Penalties
                                                                                                            Judgment   Page      7     of        a
 DEFENDANT: STANLEY PATRICK WEBER
 CASE NUMBER: CR 18-14-GF-BMM-01
                                               CRIMlNAL MONETARY PENAL TIES
      The defendanl must pay the tOLlI criminal monetary penalties under Ihe schedule of pa}111enls on Sheet 6,


                        Assessment                  JVTA Assessment*                  Fine                        Restitution
 TOTALS            $ 200,00                      S NIA                              S 200,000                   $ N/A


 o    The detennination of restitution is deferred until _ _ _ _ ' An Amended Judgment in a Criminal Case (AO 245q will be entered
      after sueh determination,

 CJ The defendant must make restitution (including corrununity restitulion) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each pavee shall reeeive an approximately proportioned payment, unless specified otherwise in
      the priority order or pereentage payment column below, However, pursuant 10 18 U.S.C, § 3664(.), all nonfederal victims must be paid
      before the United States is paid.

 Name of rayee                                                           T ota) Loss **           Restitution Ordered           Priority or Percentage




 TOTALS                               $                         0.00                _ _ _ _ _--"0,00


 o     Restitution amount ordered pursuant to plea agreement $

 o     The defendant must pay interest on restitution and a tine of more than $2 t 500, unless the restitution or fine is paid in full before the
       fifteenth day after Ihe date oflhe judgment, pursuant to 18 U,S.c. § 3612(1). All of the payment options on Sheet 6 may be subject
       10 penalties for delinquency and default. pursuant 10 18 U,S,c. § 3612(g),


 CJ    The court detennined that the defendant does not have the ability to pay interest and il is ordered that:

       o    the interest requirement is waived tOT the          o       fmc    0 restitution,
       o   the interest requirement for the              fine       0     restitution is modified as follows:

 • lustice for Victims ofTrdffickingAet of2015, Pub, L. No, 114-22 .
 • * Findings for Ihe total amount oflosses are required under Chapters 109A, 110, 1 lOA, and InA of Tille 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996,
                      Case 4:18-cr-00014-BMM Document 145 Filed 01/18/19 Page 8 of 8
/\0245B (Rev 02/18) Judgment in a Crimmal Case
                    Sheet 6 Schedule of Payments
                                                                                                                                8_ of
                                                                                                           Judgment .... Page _ _                8
DEFENDANT: STANLEY PATRICK WEBER
CASE NUMBER: CR 18-14-GF-BMM-01

                                                       SCHEDULE OF PAYMENTS

Havmg assessed tbe defendant's ability to pay, payment ofthe total criminal monetary penalties is due as follows:

A    D       Lump sum payment of $ _ _ _ _ _ _ _ due immediately, balance due

             D    not laterthan                                    , or
             D    in accordance with D      C.     D    D,   D      E,or     D F below; or

B    D       Payment to begin immediately (may be combined with            Dc,         D D, or      D F below); or

c    D       Payment in equal                     (e,g., weekly, monthly, quarterly) installments of $                        over a period of
                           (e.g., months 01' years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

D     0      Payment in equal                     (e.g., weekiy, monthly, quarterly) installments of S                        over a period of
                           (e.g., months or years), to commence                   (e.g., 3001' 60 days) after reJease from imprisonment to a
             tenn of supervision; 0 r

E    D       Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     liZ!   Special instructions regarding the payment of criminal monetary penalties:

             Special assessment shall be immediately due and payable, While incarcerated, criminal monetary penalty
             payments are due during imprisonment at the rate of not less than $25 per quarter, and payment shall be through
             the Bureau of Prisons' Inmate Financial Responsibility Program, Climinal monetary payments shall be made to
             the Clerk, United States District Court, Missouri River Courthouse, 125 Central Avenue West, Suite 110, Great
             Falls, MT 59404, "Assessment/Fine Stanley Patrick Weber",
Unless ~he cOllrt ha~ expresslyorderf?d ~the1Wise, ifthis judgment imposes imprisonment, payment of criminal monetary penaltie~ is dU,e during
the per~od of tmpf1s9r.unent. All cfllnmal monetary penaltIes, except those payments made through the Federal Bureau ofPnoons' Inmate
FlOaneral ResponsIbility Program, are made to the clerk of the court,

The defendant shall receive credit for all payments previously made toward any crimillill monetary penalties imposed.




D    Joint and Several

     Defendant and Co·Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, jf appropriate.




D    The defendant shall pay the cost of prosecution,

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (I) ",essment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, induding cost of prosecution and court costs,
